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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION
                                 www.flsb.uscourts.gov

In re:

 WILSON FILS LAMY,                                 Case No. 22-15722-PDR
                                                   Chapter 7
       Debtor.
 ______________________________/


         TRUSTEE’S NOTICE OF DORCELINE LAMY’S NON-COMPLIANCE AND
                     MOTION FOR ORDER TO SHOW CAUSE

         KENNETH A. WELT, the duly appointed Chapter 7 Trustee (the “Trustee”) for the

bankruptcy estate of WILSON FILS LAMY, by undersigned counsel, gives notice of the Debtor’s

non-compliance with this Court’s Order [D.E. 72] and seeks an order to show cause why the

Dorceline Lamy should not be held in contempt for failure to comply with the subject Order [D.E.

72] (the “Motion”), and in support states as follows:

                                        BACKGROUND

         1.    On July 16, 2022 (the “Petition Date”), the Debtor Wilson Fils Lamy (the “Debtor”)

commenced the instant bankruptcy case with the filing of an individual voluntary petition under

Chapter 7, Title 11 of the United States Bankruptcy Code.

         2.    On January 3, 2023, the Debtor’s First Meeting of Creditors pursuant to 11 U.S.C.

§341 was held and concluded (the “§341 Meeting”).

         3.    Kenneth A. Welt is the duly appointed Chapter 7 Trustee of the Debtor’s

bankruptcy estate (the “Estate”).

         4.    On December 12, 2022, the Trustee issued a Rule 2004 Notice to D.Lamy [D.E.

29] (the “Notice”) with a response date of January 12, 2023. The Notice sought documents and
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information regarding inter alia the Debtor’s financial condition, potential assets, and claims of

the Estate.

       5.         On February 7, 2023, the Trustee filed Motion to Compel Production of Documents

from D.Lamy [D.E. 47] (the “Motion to Compel”). In the interest of brevity, the Trustee hereby

incorporates his Motion to Compel by reference.

       6.         On April 7, 2023, the Court entered an Order on the Motion to Compel [D.E. 72]

(the “Order”).

       7.         The Order instructed D.Lamy to provide all documents and information responsive

to the Trustee’s Notice by no later than March 17, 2023. See Order, ¶ 7.

       8.         To date, D. Lamy has disregarded and ignored the Trustee’s demands for turnover

of responsive documents to the Notice. Thus, the Trustee had no choice but to seek Court

intervention compelling the Debtor’s cooperation.

                                     Notice of Non-Compliance

       9.         As of the filing of this Motion, D.Lamy has not complied with the Order by failing

to, inter alia, produce documents and information responsive to the Notice to the Trustee (the

“Financial Information”). Moreover, D.Lamy has further failed to comply with the Order by

failing to file a written response detailing why she is unable to produce the Financial Information

to the Trustee.

       10.        D.Lamy has shown no cause or compelling circumstance why she failed to comply

with the Order.

       11.        Prior to filing this Motion, undersigned counsel attempted to obtain D.Lamy’s

cooperation with the production of documents and to obtain an explanation/reason for D.Lamy’s




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non-compliance. Despite the Trustee’s attempts to obtain compliance, D.Lamy continually keeps

on ignoring and disregarding Trustee’s demands.

                               Motion for Order to Show Cause

       12.     Trustee seeks entry of an order to show cause why D.Lamy should not be held in

contempt for failure to comply with the Order.

       13.     D.Lamy’s failure to comply is unduly prejudicial to the Trustee and Estate.

       14.     Accordingly, the Court should require D.Lamy to show cause as to why the Court

should not hold her in contempt.

       WHEREFORE, the Trustee respectfully requests that this Court enter an order: (i) to show

cause as to why the Dorceline Lamy should not be held in contempt; (ii) compelling the Dorceline

Lamy to turn over to the Trustee all documents and information responsive to the Trustee’s 2004

Notice; (iii) directing Dorceline Lamy to file a written response detailing why she is unable to

produce any of the information requested; (iv) awarding the Trustee his reasonable expenses

incurred in bringing the underlying motion to compel and the instant Motion; and (v) for such

other relief as the Court may deem just and proper.

       Respectfully submitted May 24, 2023.

                                              DUNN LAW, P.A.
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                                              By:     /s/ Paula A. Martinez
                                                      Paula A. Martinez, Esq.
                                                      Florida Bar No. 1017901




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                               CERTIFICATE OF SERVICE


       I CERTIFY that a true and correct copy of the foregoing was served by U.S. mail and/or

electronic transmission on this 24th day of May, 2023, upon the Debtor and Dorceline Lamy:

 Dorceline Baptiste Lamy                          Dorceline Baptiste Lamy
 5415 NW 22nd St.                                 1050 SW 39th Ave
 Lauderhill, FL 33313                             Fort Lauderdale, FL 33312

 Dorceline Baptiste Lamy                          Wilson Fils Lamy
 148 NW 91st Ave.                                 5415 NW 22nd St
 Pembroke Pines, FL 33024-6458                    Lauderhill, FL 33313

 Wilson Fils Lamy
 148 NW 91st Ave
 Pembroke Pines, FL 33024-6458


                                           By:      /s/ Paula A. Martinez
                                                    Paula A. Martinez, Esq.
                                                    Florida Bar No. 1017901




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